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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 JUSTIN GUY, individually on behalf
 of himself and others similiarly situated,
                                                     Case No.: 20-cv-12734
       Plaintiff,
                                                     Hon. Mark A. Goldsmith
 v.

 ABSOPURE WATER COMPANY, LLC,
 a domestic limited liability company,

       Defendant.
                                               /______________________________

      PLAINTIFF’S EMERGENCY MOTION FOR RECONSIDERATION
             OF THE COURT’S ORDER DENYING IN PART
          PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

       Plaintiff, Justin Guy, on behalf of himself and the finally certified class of

 Opt-in Plaintiffs, hereby submits this Motion for Reconsideration concerning

 Plaintiff’s Motion for Summary Judgment. As defense counsel repeatedly

 acknowledged in the hearing held on November 30, 2023, there are no material

 issues of fact regarding who is the shipper, and thus the issue is ripe for resolution

 by this Motion. Specifically, no reasonable juror could possibly find that

 Defendant Absopure Water Company was the “shipper” in light of J.B. Hunt’s

 recently    secured     trial   testimony     which     lays    bare    Defendant’s

 misrepresentations; new testimony which was not previously available. Thus,

 Plaintiff’s Motion for Reconsideration Concerning his Motion for Summary
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 Judgment as it relates the MCA exemption should be Granted, which will allow this

 matter to proceed to trial on the limited remaining disputed issues of fact pertaining

 to damages and whether Defendant’s violation of the FLSA was willful.

       I.     Background

       A Motion for Reconsideration is appropriate on non-final orders where “new

 facts warrant a different outcome and the new facts could not have been discovered

 with reasonable diligence before the prior decision.” E.D. Mich. L.R. 7.1 (h)(2)(C).

       Here, the “new facts” are the trial testimony of J.B. Hunt’s corporate

 representative, and Defendant’s acknowledgement that no material disputed issues

 of fact exist at this time during the November 30, 2023 hearing, with regard to who

 is the “shipper.” The de bene esse deposition of J.B. Hunt’s corporate representative

 “could not have been discovered with reasonable diligence before” because

 Defendant never argued that it was the entity that arranged or directed Mountain

 Valley’s shipment of goods through J.B. Hunt before dispositive motions were filed

 in this matter. Rather, Defendant’s corporate representative bound the corporation

 and admitted that Mountain Valley was “the shipper” of its goods:

       Q.·Okay.·And it's your position that Mountain Valley intended to send
       this shipment to Absopure's warehouse in Plymouth, Michigan;
       correct?
       A.· ·Yes.
       Q.· ·Okay.· And it's your position that Mountain Valley did, indeed,
       ship these items from their Hot Springs facility to Absopure's
       Plymouth, Michigan facility; correct?
       A.· ·Yes.

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         ...
         Q. Okay. They -- Mountain Valley ships and delivers those products
         to Absopure; correct?
         A. I believe it's common carrier. I don't --
         Q. Okay. So, they arrange for that common carrier to ship it to you;
         correct?
         A. I believe so, yes.

 Defendant’s 30(b)(6) Dep. 187:18-25; 189-190 (emphasis added).1

         It appears that—following the deposition of Defendants’ corporate

 representative--Defendant learned of a then-recent unpublished opinion from the

 Eastern District of Michigan concerning the MCA exemption, Smith v. Coastal

 Produce Distributors, Inc., 2021 WL 1026910 (E.D. Mich. March 17, 2021), and

 decided it would attempt to defend this lawsuit by parroting the facts cited in Smith,

 and for the first time falsely claimed that the identical facts set forth in Smith existed

 here. Specifically, Defendant submitted a sham declaration, in which it claimed that

 it arranged for transportation with J.B. Hunt, in direct contradiction to Defendant’s

 prior binding testimony. See ECF No. 55, PageID.851 (“54. Absopure purchases

 Mountain Valley products from Mountain Valley in Arkansas and then arranges for

 those products to be shipped from Arkansas across state lines to Michigan using

 common carriers.”); see also id. at PageID.861 (Defendant “arranges for

 transportation with a third party carrier (J.B. Hunt) to bring the products

 across state lines to Michigan[.]”) (emphasis added); see also Defendant’s


 1
     Defendant’s Corporate Representative transcript is located at ECF No. 56-2.

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 Response to Plaintiff’s Motion for Summary Judgment, ECF No. 61, PageID.4141

 (“Absopure purchases the products from Mountain Valley in Arkansas and then

 arranges for transportation with a third-party carrier (J.B. Hunt) to bring the

 products across state lines to Michigan[.]”) (emphasis added).

       Relying on Defendant’s misrepresentations in this regard, the Court denied

 Plaintiff’s motion for summary judgment on the MCA exemption, and reasoned:

       In keeping with the overall aim of assessing the “essential nature of the
       transaction,” this Court finds it most appropriate to identify as the
       shipper the entity that functionally plays the most significant role in
       directing and controlling the transportation of goods. . . . Both parties
       have produced evidence as to whether Absopure controlled and
       directed the shipment of Mountain Valley products across state
       lines. In support of its argument that it purchased out-of-state goods and
       then arranged for their transportation into Michigan with JB Hunt, for
       example, Absopure points to invoices from Mountain Valley. See
       Absopure Mot. at PageID.861 (citing Mountain Valley Invoices (Dkt.
       55-19)). And these invoices do support the uncontested proposition that
       Absopure ultimately paid the cost of interstate transportation, although
       it is somewhat less clear from the face of the documents how they
       support the proposition that Absopure is the entity that actually
       arranged for the transportation with JB Hunt. Guy, on the other
       hand, points to evidence including (i) testimony from Absopure’s
       corporate representative indicating a belief that Mountain Valley
       arranges the transportation and (ii) the fact that JB Hunt’s annual report
       refers to Mountain Valley as a “related party” and describes a
       contractual service agreement with Mountain Valley. Guy Resp. at
       PageID.2932, 2935 (citing Absopure 30(b)6 Dep.at 187:18–25, 189–
       190 (Dkt. 59-2)); id. at PageID.2932 (citing JB Hunt Annual Report at
       21 (Dkt. 59-15)). Because it is not clear whether Absopure or
       Mountain Valley arranged the interstate transportation with JB
       Hunt, the Court cannot determine at present which entity is “the
       shipper” for purposes of the interstate intent analysis.[] The
       factfinder will be best situated to address which entity controlled and
       directed shipment of the goods across state lines, and, if relevant,

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       whether Absopure intended at the time of shipment that the goods
       would continue in interstate commerce after reaching its warehouse.[]
 ECF No. 70, PageID.4503-04 (emphasis added). Thus, the Court did not Grant

 Plaintiff’s Motion for Summary Judgment because it held that it was “not clear

 whether Absopure or Mountain Valley arranged the interstate transportation

 with JB Hunt[.]” Id. (emphasis added).

       II.     J.B. Hunt’s Corporate Representative testimony and Dedicated
               Contract Services Transportation Agreement with Mountain
               Valley undisputedly confirms that Defendant did not arrange the
               interstate transportation with J.B. Hunt.
       Following J.B. Hunt’s corporate representative de bene esse deposition, it is

 now undisputed that Mountain Valley “arranged the interstate transportation with

 J.B. Hunt.”

       J.B. Hunt’s Corporate Representative, Mr. Trevor Rogers, is J.B. Hunt’s

 Operations manager exclusively dedicated to working with Mountain Valley. See

 J.B. Hunt 30(b)(6) Dep. 19:20-20:7.2 J.B. Hunt’s corporate representative testified

 that J.B. Hunt is a dedicated transportation provider for its customer Mountain

 Valley. J.B. Hunt Corp. Rep. Dep. 12:21-25; 26:7-10. Dedicated contract service

 solutions are advertised on J.B. Hunt’s website under the section for “shippers.” Id.

 67:6-14.




 2
  J.B. Hunt’s corporate representative deposition is located at ECF Nos. 203-1, and
 203-2.

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       J.B. Hunt has a dedicated fleet of approximately 30 truck drivers that work

 exclusively for Mountain Valley and actually works “on site” at Mountain Valley’s

 warehouse; not at J.B. Hunt or Absopure’s warehouse. 19:12-19; 20:10-12; Id.

 20:13-14 (“Q. You physically work at Mountain Valley’s location? A. Yes.”); 20:23-

 21:1 (“Q. Okay And so you’re on-site at Mountain Valley’s facility. Are these trucks

 that you are managing also on-site at Mountain Valley’s facility? A. They pick up

 from the shipper here…”) (emphasis added).

       J.B. Hunt testified that a dedicated account is:

       Typically with dedicated you have managers on-site with that
       customer.· They handle whatever transportation needs, you know, with
       the size of the customer they -- the customer could have their own
       transportation office there. They work really closely with J.B. Hunt and
       make sure things are running efficiently and then J.B. Hunt provides
       the trucks, trailers, ·drivers to haul that freight.· Typically they're your
       larger manufacturers, larger customers that ·have a dedicated fleet not
       someone that ships one ·or two loads a week.· It is quite a few loads a
       ·week.
 Id. 31:1-16. In other words, Mountain Valley outsourced its transportation needs

 to J.B. Hunt:

       Q. “Do you agree with the statement that Mountain Valley outsourced
       its transportation needs to J.B. Hunt?
       A. Yes.”




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 Id. 73:23-74:1.3 Conversely, J.B. Hunt also confirmed that Absopure is not J.B.

 Hunt’s customer and does not have a service contract or agreement with

 Absopure Water Company.

       Q.· Okay.· So let me ask you that.· Does J.B. Hunt do business directly
       with Absopure Water Company?
       A.· Not to my knowledge.
       Q.· Are you aware of any agreements that exist between J.B. Hunt and
       defendant Absopure Water Company?
       A.· I am not.
       Q.· This certificate refers to records that are relied upon in the ordinary
       course of business. Do you see that?
       A.· Yes, I see that.
       Q.· So does J.B. Hunt certify that it does not rely ·upon any records
       relating to Absopure Water Company in their ordinary course of
       business?4
       (Objection, form).
       A.· Correct.
       …
       Q. Does J.B. Hunt receive any records from defendant Absopure Water
       Company in the ordinary course of its business?
       Mr. Cummings: Objection.
       A. Not that I’m aware of.

 Id. 84:2-85:1; See also id., 30:14-17; 81:21-23.

       J.B. Hunt’s relationship with Mountain Valley began as a “private fleet

 conversion”, which means:

       It's just when a customer simply reaches out to J.B. Hunt to convert
       their fleet from their private ·drivers, meaning drivers that they employ,
       and·trucks that they own to outsource that to J.B. Hunt.

 3
    J.B. Hunt also provides Mountain valley with “[a]nything transportation related”,
 which includes setting up a broker to pick up a load that JB Hunt can’t handle for
 whatever reason. Id. 45:20-25.
 4
   J.B. Hunt’s Certificate of no records is located at ECF No. 203-5.

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 Id., 71:3-10. J.B. Hunt’s corporate representative is aware of one driver for J.B.

 Hunt who was previously directly employed by Mountain Valley as a driver before

 Mountain Valley conducted its private fleet conversation. Id. 73:16-22. J.B. Hunt

 drivers also drove Mountain Valley owned tanker trailers to transport loads

 purchased in bulk:

       Okay.· And are these tanker trailers the property of Mountain Valley?
       A.· ·Yes.· They own those tanker trailers.
       Q.· ·Okay.· And then previously at one point was J.B. Hunt's drivers
       driving the tanker trailers to transport the Mountain Valley goods?
       A.· ·Correct.· There was, I think, two customers that they actually used
       tanker trailers for.
       Q.· ·Okay.· Got it.· And why do you no -- why do you guys no longer
       use the tanker trailers?
       A.· ·My suspicion is they no longer buy bulk water.

 141:11-24 (emphasis added).

       J.B. Hunt’s truck drivers in this dedicated fleet are assigned to Mountain

 Valley and not a specific route of Mountain Valley shipment. Id. 37:18-25. In other

 words, the shipment instructions issued to J.B. Hunt by Mountain Valley for its

 shipments to Absopure are standardized and could be driven by any J.B. Hunt driver

 dedicated to Mountain Valley. Id. 38:1-7 (“Q.· Got it.· So the driver that is driving

 this load X·today to Absopure Water Company tomorrow or, you ·know, in a week

 when they get back, they could be driving a load to California or wherever else

 Mountain Valley needs transportation of their goods; is that fair?·A.· That's fair,

 yes.”).

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       Mountain Valley controls the shipments via standardized shipping

 instructions that it provides to J.B. Hunt through its “shipment calendar.” Id. 13:16-

 20 (“[T]he way it works is they send us a list of loads that they want covered and

 then we find coverage for those loads with dedicated fleet ·or through brokerage or,

 you know, however it needs ·to get delivered.”); 49:18-24.5 Mountain Valley directs

 J.B. Hunt through its shipment calendar:

       Q.· Is it correct to say that the shipper, Mountain Valley, tenders freight
       to J.B. Hunt and directs J.B. Hunt to where delivery is expected?
       A.· Yes.

 51:5-8 (emphasis added); see also id. 51:12-20 (Mountain Valley is “giving us the

 destination and the time and places the delivery is supposed to happen.”); 52:7-13

 (Q: “Does Mountain Valley direct J.B. Hunt to where delivery is expected? A. Yes.

 Q. How does Mountain Valley direct J.B. Hunt to where delivery is expected? A.·

 They give us the address and the city, state, and·time to be there.”); 55:20-25 (Q.

 “What is included in·the shipment calendar that Mountain Valley provides·to J.B.

 Hunt? A.· It provides the address, city, state, pick up time, delivery time, and then

 some -- you know, sales numbers and stuff like that, like a PO number[.]”)

        Mountain Valley directs J.B. Hunt in every possible aspect of this

 straightforward process:


 5
   When J.B. Hunt cannot cover a shipment for Mountain Valley, J.B. Hunt assists in
 facilitating the transportation for Mountain Valley with a third-party provider. Id.
 97:3-20.

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        Q.· And who tells you when to pick up the Mountain Valley goods?
        A.· Mountain Valley does.
        Q.· And who tells you when to deliver the Mountain Valley goods?
        A.· Mountain Valley -- did you say who?
        Q.· Yes, sir.
        A.· Who, yeah, Mountain Valley does.

  Id. 53:13-20; See also id. 59:5-9 (Mountain Valley advises J.B. Hunt of the weight

  or quantity of goods to be shipped). Mountain Valley also directs J.B. Hunt during

  the winter months to watch the weather and make sure "we're planning our routes

  accordingly to make sure we're not dealing with any frozen product because water

  freezes obviously, make sure we're not dealing with any of that.” Id. 53:21-54:11.

        Ultimately, J.B. Hunt answered the Court’s inquiry concerning “whether

  Absopure or Mountain Valley arranged the interstate transportation with JB

  Hunt”, [ECF No. 70, PageID.4503-04], and indicated that Mountain Valley

  arranged the interstate transportation with J.B. Hunt through Mountain Valley’s

  shipment calendar:

        Q.· Who arranges for the transportation of Mountain Valley goods with
        J.B. Hunt?
        ATTORNEY CUMMINGS:· Objection, form.
        A.· The shipment calendar is kind of the arranger.· It tells -- it tells the
        date and the time.·So once that's handed to us, we have our
        arrangements, in a sense, and then we plan from there.
        Q.· You are referring to Mountain Valley's shipment calendar, correct?
        A.· Yes, sir.

  Id. at 57:18-58:3.




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        The underlying process begins with Mountain Valley employees loading the

  J.B. hunt trucks to ship the Mountain Valley goods. See id. 40:24-41:2. With respect

  to the loading process, J.B. Hunt follows Mountain Valley’s specific loading

  procedures for transportation Mountain Valley’s goods:

        Q.· Does Mountain Valley have specific loading procedures for its
        bottled water?
        A.· Yeah.· Like a -- so in the freight industry, in order to get a load to
        scale right, you know, you have to put a certain amount of weight on
        each axle, that sort of thing.· That would be their loading procedure that
        I'm referring to.
        Q.· Okay.· Is that the same loading procedure for all ·the Mountain
        Valley goods that J.B. Hunt transports?
        A.· Yes.

  Id. 49:7-17.

        Mountain Valley monitors the load while in transport to see if J.B. hunt timely

  delivered the loads by simply “just walk[ing] down to our office. We’re on site.

  They come in and ask.” Id. 41:14-19; 43:14-17 (emphasis added). Conversely,

  Absopure communicates with Mountain Valley’s customer service—not J.B.

  Hunt—in the regular course of business:

        Q. “[I]n the regular course of business who – how does the
        communication get transmitted to J.B. Hunt as it relates to the shipment
        of Mountain Valley goods to defendant Absopure Water Company?
        A.· Like I was saying before, the customer service, you know, they're
        the ones that gives us the shipment calendar, you know, that I keep
        referring to.
        Q.· And when you say "customer service," are you referring to J.B.
        Hunt's customer service?
        A.· No, no.· Mountain Valley.



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  Id. 47:7-16; see also id. 46:19-23 (“Q. Okay. Does Absopure Water Company ever

  call J.B. Hunt for these purposes? A. Not directly. Typically they call -- I would say

  I have never had them call me. They call Mountain Valley for an ETA on their

  load.”)

        J.B. Hunt also prepares reports for the shipper Mountain Valley concerning

  “on-time percentage”, “number of miles that we ran that week, our number of loads

  we delivered that week, that sort of thing.” Id., 50:1-11. Conversely J.B. Hunt has

  never provided these reports to Defendant Absopure. Id. 50:12-14.

        J.B. Hunt bills Mountain Valley directly through weekly invoices. Id., 78:5-

  13. In turn, Mountain Valley pays J.B. Hunt for the cost of interstate transportation

  of its product to Absopure. Id. 78:14-18; 153:16-23 (Mountain Valley pays J.B.

  Hunt’s toll charges); 154:7-13 (Mountain Valley pays J.B. Hunt for “detention time”

  if J.B. Hunt is required to wait additional time to unload its goods at Mountain

  Valley’s customer’s facilities.); 159:18-160:6 (J.B. Hunt pays Mountain Valley’s

  fuel charge for mileage).

        Ultimately, J.B. Hunt contemplated whether Mountain Valley or J.B. Hunt

  plays the most significant role in directing and controlling J.B. Hunt Transportation

  of Mountain Valley goods—not Defendant Absopure Water Company:

        Q. Who is the entity that functionally plays the most significant role in
        directing and controlling J.B. Hunt Transportation of Mountain Valley
        goods?
        Mr. Cummings:· Objection, form.

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        Mr. Hanna:· You can answer.
        A.· Well, I don't know.· You know, the significant role is kind of the
        problem that I am having trouble with, I guess, is -- because I feel like,
        you know, as J.B. Hunt Transportation, I feel like we play a pretty
        significant role in delivering those goods as well. But, again, I can say
        the shipment calendar is all they provide us, and that has those items on
        there that I was talking about, the city, the state, pickup date, and
        delivery date. I can't say that they provide a more significant role than
        we do, I guess, as J.B. Hunt, but...
        Q.· What else is there to it other than what's the ·information provided
        for the shipments in the shipment calendar?
        A.· There is not much as far as you have got to manage your people.
        You know, that's --
        Q.· That's what you're referring to when you say your role in this
        process?
        A.· Yes, sir.

  56:12-57:12. Whether Mountain Valley or J.B. Hunt played the most significant role

  in directing and controlling J.B. Hunt transportation of Mountain Valley goods is of

  no import: it is undisputed that Defendant Absopure did not play the most

  significant role in directing and controlling J.B. Hunt, as admitted by J.B

  Hunt.6

              A. J.B. Hunt identifies Mountain Valley as the shipper based on
                 well-established transportation industry standard.

        While Defendant seeks to discount the fact that J.B. Hunt literally refers to

  Mountain Valley as the shipper, the fact that J.B. Hunt—one of if not the largest


  6
   Defendant admitted that once Mountain Valley "sells its products [to Absopure], it
  has no further intent." Defendant’s Response to MSJ, ECF No. 61, p. 5 (response to
  ¶ 24.). Similarly, J.B. Hunt admits that it does not know what happens to the
  Mountain Valley goods once they are delivered to Absopure. J.B. Hunt Corp. Rep.
  Dep. 87:17-20.

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  commercial carriers in the United States—refers to Mountain Valley as the shipper

  based on industry standard is at the very least compelling, even if the Court does

  not find it to be dispositive on its own. See id. 25:8-14 (“Q. What does J.B. Hunt

  refer to Mountain Valley as? A. Most of the time we call them our customer. But it's

  industry standard to say "shipper" and·“receiver," like you're shipping and

  receiving.·So they're our shipper.·You know, we're shipping from Mountain

  Valley.”) (emphasis added); 44:19-23 (Q. “[W]hy did you refer to Mountain Valley

  as the "shipper"? A. That's just really an industry standard. "Shipper" and "receiver"

  is the way we refer to all of our customers.”); Id. 25:21-26:3 (J.B. Hunt internally

  refers to Mountain valley as, inter alia, “shipper” with its drivers); Id. 75:7-12 (“So

  who is the shipper for the transportation of Mountain Valley goods? (Objection) ..

  A. Mountain Valley is the shipper.”)

  III.   J.B. Hunt’s Dedicated Contract Transportation Agreement between J.B.
         Hunt and Mountain Valley likewise confirms that Mountain Valley was
         the shipper of its goods that J.B. Hunt transported.
         J.B. Hunt’s Dedicated Contract Transportation Agreement between J.B. Hunt

  and Mountain Valley is attached as ECF No. 203-6. J.B. Hunt’s Dedicated Contract

  Service Transportation Agreement literally refers to Mountain Valley hereinafter as

  “Shipper.” See id, p. 1; J.B. Hunt Corp. Rep. 128:11-15 (“Q. …·And the drafter of

  this contract and you as J.B. Hunt's corporate representative consistently refer to

  Mountain Valley throughout this contract as what? A. Shipper.”)



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         This contract sets forth the terms between J.B. Hunt and Mountain Valley. It

  begins by indicating that the “Shipper”, Mountain Valley, “tender to J.B. Hunt at

  locations listed” in a corresponding schedule the shipments subject to the terms of

  the agreement. ECF No. 203-6, p. 1. Significantly, Mountain Valley is listed on

  J.B. Hunt’s certificate of insurance evidencing coverage for automobile liability

  insurance. See id., p. 2 (Section 5 concerning Insurance); see also J.B. Hunt Dep.

  143:2-9. J.B. Hunt also entered into a “Cargo liability” provision with Mountain

  Valley. ECF No. 203-6, p. 3 (Paragraph 7).

         The agreement provides that custody and possession of the cargo belongs to

  J.B. Hunt until the goods are delivered. Id., at p. 1. The contract also provides that

  the terms of the contract are binding if ever in conflict with the terms of any bill of

  lading. See ECF No. 203-6, p. 1. The agreement also may not be assigned, and all

  transportations are governed by its terms. Id., p. 4. Mountain Valley is the only entity

  permitted to use J.B. Hunt’s dedicated trucks as the shipper. J.B. Hunt Corp. Rep.

  158:6-13 (“Q.·Okay.· So only Mountain Valley's permitted to use the trucks as

  shippers, correct? MR. CUMMINGS:· Objection. THE WITNESS:· Since we have

  a contract with them, the trucks that we've added or the trailers that we've added are

  for their use, yes.”).

         Given this newly available testimony, and Defendant’s concession that there

  are no remaining issues of fact regarding which entity is the shipper, the issue is ripe



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  to be resolved by dispositive motion prior to trial. Indeed, doing so will allow the

  trial to proceed in the most efficient expeditious manner in line with Fed. R. Civ.

  Proc. 1’s dictates. Thus, Plaintiff’s request that the Court reconsider its Order and

  enter an order holding that Absopure was not the shipper of the Mountain Valley

  products it received from Mountain Valley.

                                    CONCLUSION

        There is no need to further delay the inevitable, or to expend unnecessary jury

  time and thereby increase the inherent risks of not reaching a verdict. There are no

  disputed issues of material fact, and no reasonable juror could ever find that

  Defendant Absopure Water Company was the shipper of Mountain Valley’s goods.

        Wherefore, Plaintiff respectfully requests the Court Grant Plaintiff’s Motion

  for Reconsideration, and allow this matter to proceed to trial on damages and the

  issue of whether a willful violation exited only.

        Undersigned sought to confer with Defendant’s counsel concerning the relief

  requested herein on December 1, 2023. By the timing of the filing of this Motion,

  Defendant’s counsel did not respond, and Plaintiff therefore assumes that Defendant

  opposes the relief requested herein.

                                                  Respectfully submitted,
  Dated: December 1, 2023
                                                 /s/ Michael N. Hanna
                                                 MICHAEL N. HANNA (P81462)
                                                 MORGAN & MORGAN, P.A.
                                                 2000 Town Center, Suite 1900

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                                                 Attorneys for Plaintiff

                          LOCAL RULE CERTIFICATION

        I, Michael Hanna, certify that this document complies with Local Rule 5.1(a),

  including: double-spaced (except for quoted materials and footnotes); at least one-

  inch margins on the top, sides, and bottom; consecutive page numbering; and type

  size of all text and footnotes that is no smaller than 10-1/2 characters per inch (for

  non-proportional fonts) or 14 point (for proportional fonts). I also certify that it is

  the appropriate length. Local Rule 7.1(d)(3).

                                                                   /s/ Michael N. Hanna
                                                                       Michael N. Hanna

                            CERTIFICATE OF SERVICE

        The undersigned certifies that on December 1, 2023, the foregoing document
  was served electronically upon all attorneys of record.

                                                   /s/ Michael N. Hanna, Esq.
                                                  Michael N. Hanna, Esq.

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